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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                 8:13CR314
                                               )
       vs.                                     )                   ORDER
                                               )
JOHNNY MARTINEZ,                               )
ANISHA MARTINEZ,                               )
ANTHONY WEINRICH,                              )
MARK PIPER, and                                )
JACKLYNN WALKER,                               )
                                               )
                     Defendants.               )



       This matter is before the court on the motion of defendant Anthony Weinrich
(Weinrich) for an extension of time to file pretrial motions (Filing No. 74). Weinrich seeks
an additional thirty days in which to file pretrial motions. Weinrich has filed an affidavit
wherein he consents to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 75). Weinrich's
counsel represents that government's counsel has no objection to the motion. Upon
consideration, the motion will be granted as to all defendants.
       IT IS ORDERED:
       1.     Weinrich's motion to extend the pretrial motion deadline (Filing No. 74) is
granted.
       2.     ALL DEFENDANTS are given until on or before December 23, 2013, in which
to file pretrial motions pursuant to the progression order. The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendants
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between November 20, 2013, and December 23, 2013, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendants' counsel require additional time to adequately prepare the case,
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taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).


       DATED this 20th day of November, 2013.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge




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